  Case:23-40569-EJC Doc#:253 Filed:03/27/24 Entered:03/27/24 12:15:20                                 Page:1 of 1


                        UNITED STATES BANKRUPTCY COURT
                                    Southern District of Georgia

                                  NOTICE OF CHANGE OF ADDRESS
                                                                                    FILED - US Bankruptcy Court - SftU
                                                                                       2024MAR27PMr2:14

Case Name:        Master Lending, LLC
Case No.:
                  23-40569-EJC

Change of Address for:

 Debtor            Joint Debtor       Creditor   %/       Attorney for Debtor         Attorney for Creditor

Change for:

 Notices ONLY                       Payments ONLY                        Notices and Payments   %/
                                       3/27/2024
EFFECTIVE DATE OF CHANGE:


Name:.
           Rochelle Javetz

Prior Address:.   1 South Grant St

                  Savannah, GA 31419


**************************************************************** ***********************




New Address:.     2 Perriwinkle Lane

                  Savannah, GA 31411



     . 3/27/2024
 Date;                              Signature of Filer:
                                                           912-224-5324
                                    Telephone Number:

                                    IF FILED BY AN ATTORNEY



Attorney Name;

Bar ID:


Address;
